         Case 1:22-cr-00673-LAK Document 401 Filed 02/14/24 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                     February 14, 2024

BY ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:     United States v. Ryan Salame, S7 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        The Government respectfully submits with this letter a proposed consent order for
interlocutory sale for certain properties which the above-referenced defendant agreed to forfeit as
part of his plea agreement. The Government is available to answer any questions the Court may
have.



                                             Very truly yours,

                                             DAMIAN WILLIAMS
                                             United States Attorney

                                             by: /s/ Samuel Raymond
                                             Nicolas Roos
                                             Danielle Sassoon
                                             Thane Rehn
                                             Samuel Raymond
                                             Danielle Kudla
                                             Assistant United States Attorneys
                                             (212) 637-6519


cc: Counsel for Ryan Salame (via ECF)
